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                                                                                                                             AUG 12·-2022
                                                                                                                             C~~ELA E. NOBLE
                                                         UNITED STATES DISTRICT COURT                                      s o ol u.s. orsr. er.
                                                                                                                            . '   f:LA. • Ft PIERCE
                                                         SOUTHERN DISTRICT QFF'LORII),A

                                              CASKNO. 22-14Q3,5-Clt.MARTINEZIMAYNA:RD

      IJNI'FEl>
        ....,.
             .    _. ..· OF
                STATES
                    ..    ·. AMERICA'
                             .    .•   .         .       .    .   .   .   .




      v.

      DANIEL
       ..    SCOTT ,CROW'
           ·. ...        .   .·   . .                .



                                                J)efe1ula11t
     ------.---------J
                                                                              PLEA AGREEMENT

                    The United States Attornefs Office for the Southern J:>1strict of Florida ethis Office?')

     and .DanieL Si;:o~                    CllOw (herein_after referred. to as . the "defendant") enter into the foHowing .
     agreement:

                    L             The defendant agre~s to plead guilty to count one of the Indictment, whicl}

     charges tlie .defi;mdant with enticem.e11f of a ID;inor, in violation of Title 18, Uniteg States Code,

     Section 2244(0). The defendant also agrees to plead guJlty to cou1_1{two of the fu.dictment, which

     charges the qeft:lnd1:1nf with _production of;child pornography; in viblatiol). of Titie- 18, United·

     States Code; Secfio_ns 2_25 l(a)(e} antl-(7).

                    2.            This Qffice                agre~        to seek dismissal of count thr¢e of tbe Indictment, aftet

     sentencing.

                    3.            the ciefeMant is aware that                      the sentence will be imposed   by the    Court after

     ccmsicledi:lg th.e ;11dvi1mry Fe9eraL'8en~encing Gui_delines and .Policy Statements .(hereinafter

     '~Sentencing 9µjdelin:es'!). Tile defend~t 1;1.clwowledges ancl understa11dii toat the l~ourt                                  wm
     co~pute.•an ~tiyisocy s~ntence :1!n4er the Se9tencin,g Guidelines and that the applkable.guldelines
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           will ,IJe determined by the Court relying inpart on,the results ofa pre-senten<;:e' investigation· by
               .                    ·~             -       .   ~       .                     .   )




           the Court~s
                  -
                       probation office, which jnvestigation
                                                   .   .
                                                             wilJ commence ·a_fl.;er
                                                                            -
                                                                                     the guilty pl~a .has been
           entered~ The defendant is· also aware that, under certain circumstances, the .Court- may depart

           from· the- ai:lvisory sentencing ,guldeline n111ge tliat fr h~s coropute_d, and m~y raise or lower that

          ,advisp']"· sentence· under the s·ent¢ncing Guidelines. The defendant is further aware' ir1cl

           µnderstandsthat the Courfis requ{red to consider the advisory guicJeliiie tang~ deter1'}ined under

           the Sentencing Guidelines, but is not bound ·to impose a sentence withi!l that advisory-range; the

           C9µr:t ·is peqnitted. tQ tailor the ultimilte se11tence in light of otlter statutory ~Qncems, an.d such-

          sentence may b.e either-11;1ore ;severe or foss severe than th~ $entenc1ng (3uideiines'· aclvisory
                                                                   .                                          .
          range; J{Q.o:\-1/ing these facts, the def~ndant understands ,and. {lcknowledges that the Co_urt has the_

          a.uthority to impqse any seritenq~ within /:lJld. up to the stattlt<>ry maximum authorized by law for
j         .the· offenses identified in. paragraph 1. and that the defendant may not wi_th<lraw the ple~ soleiy as

          ·a re!lult ofthe:se11te11ce ifnposecl;

                   4.       • The- defertda_ntJd~o understands and ac.knowl~dges that as to count one, the Court

          must impose a minimum •sentence pf JO y~f!f$ .a11d may impgse a ,st_atµtocy :i;nl!X1tn11m
           ,        • ••        ~                                          I            1"-
                                                                                                    ·term .of

          imprisolllllen:t. ofup:.t() life, folloWe,d by a tenp·of sµperv~ed relea~e,of at least 5 ye·ars and up"to·
          lifetime sup~rvi~ed
                         . -- .
                                ie!~a.se.,_IIJ addition lo: a term ofjmprisonme11t
                                               ,                        .
                                                                                   ·~nd supecy~sed releas~;.t}ie
                                                                                                       -          -




         .. Court may impps~ •fl.. fin.~. Qf up tQ $25O,Q00; ·l!Ii<i may order forfeiture. There is also mandatory

          re.stitaiion. ·

                   5:.       The:de:fendant a:lso undet~nds,and acknowledses thatas to count two; the,Coart'

          must imp_ose a ininutmm seni¢npe, ,pf -15 .y¢ars ~n.d may impose a stattitpfy ni_a~imurn term of

         · imprisonment of upt<i 30 yeat:s, fqllowed. by a term of supervised relea$e,of at le'ast $ yea,rs upto
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         lifeti!Jle ~upervis~d tel~ase, In additiop. to ,I!, term. of i,nprisonment and Sllpervised releas:e, ,the·

     .Court may impose ~· fine of up tq $250;000, an.d :may. order forfeiture'. There js al~o Iru\ridatozy
     .                 ,                         -·                ,,   .   '    ~




         restitufi011.

                 6i          '!;he defendant further uhqerstands and ,acknowl~.dges that;         m.addition tt:) ti:tty
         sentence. unp9sed uiider paragraphs 4 apd 5 9f thi~ .agreement, a special· as_sessilientin the

         ~otint of $100, and a special assessment in the amount of ,$5,000; will be imposed on ,the

     · defendant, as to ~ch count for a total of$10,20() in speciarassessments. The ,defendant agrees

         thal any special a$5essme.11timpose~shall be.·paid at the;time of sentencing. If the d~feilclant 1s

         fi11~~cially unable to pay the sp.ecial a~sessinerit, the defendant agrees to present evidence tQ this

         Offl~e and the Court; att,\le titne ofse11tencing ~sto the teasorts for the defendant's failure to pay.

                 7a          The defendant a$fees, in an faaividua:l and any other•capacity, to forfeit to·the.

         United: St1;1.t!',S, y9lu..ntadly ancl jµuue4iately, ~my right, title, '.anci interest to any visual5lepictiort

         d~scribed in Title 18, United States Code, Sections 2251, 2251A, or ~2~2, or any boqk,

         m,agazme;, perioclical, film, videotapf',. or other matter which cort~ins any such visual depiction,

         which was ,prqduced,·transported, mi:tiled, shipped qr received in·violation of Title 18, tJnitea

      iSt~t<:ls .C:ode, Ch~ptet 11 O;. any prop¢rty., real. or personal, ,constituting or traceable to gross profits
                               .                                                         '                  '




     · or otber proceeds obtained fi:0111. suph offetis<:l; flUd any property, real or personal, us~d or

         inten.decl to     b~ useq to commit or. to· promote the commissfon of such -offense pr any· propep:y
         traceable to si.J,ch p(operty,

                 s~·         The'. defendant' further agtees that forfeituJe is iµdependent of ,any as~essment~

     ·fin~. cost, restitution, bl.' penalty ,that may be impos¢d Sy the Court. the. ~fenAJWt kp.owingly
         and\roluntaiily.~grees tg Wf!iY~ alt copstitµtional, legal,'.and equitab1efiefenses- to the forfoifute,
                 ~                 .,-   .   "        '    .                      .                                   ~




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      inQluding excess.ive fines und.et the. :Eighth Apiendment to the {)11jte.d States Con~titution. In

      adclition, the qeferidant. agrees to watve: any applicable time Jimits for administrative or j11dicial

     ·forfeitµfe:pr9c.eedings, the_reguiremenfs of.Fed. .&. Crim. P. 3p.2 ~clA3(a); and any appeal of

      t}1e fotfei.tµre, ·

                   ,9.   .   The defend~tal~o·agreesto fµlly an:d trµthfuUy ·dtsclose the-existence, nature and
      lQcation ofaU assets mwhich the deferidanthas or had any direct or indire:ct financial iQter~st{)r .
      .                                                \


      control,- and· any assets involved in the Qff'enf!es of conviction. Tlie defendant agrees to take all.

      steps requ~st~ by the_ Doited States for the recovery and forfeiture of all assets i<Jeptified by the

     · Utilted $t~tes as subject to forfeiture: }:his includes, but is not limi~ed to, the timely delivery

      qpon request -of all nece.ssary .and flllpropriat.e dqcumtmtation to deliver -g~od. and marketable .

      ti~l~; ccmsenti!}g to all orders of forfeiture, ~nd not conte~ting or :impeding in •any way with a11y

      criminal, civil or administrative forfeiture proceeding concerning. the forfeiture •.

                   lO. . Tliis. Office reserves the right tQ inform th:e Court anc:l f4e: probation offi¢e of all

      facts· pertimmt to the s~ntegciiig process, ·including all relevant info~atfon concerning the

      o:fferise.i; committed, whether charged or not; as w~U. a1! .. Cof).cetning the d¥fendailt and the

      defendiµ1t's background. Subject only to the e~ptess terms pf any .agteed~JJJJ?TT sentencing

      recommendations· contaifie,d in this agt.eerne.IJ.t,.this Office. further teserves.tl:ie fight,to tnake any
          •   <'                                             '            •                 •             !




     .1.:¢comiriendation as Jo the quality anctquantity ofpunishmept.

                   11.       This Office agrees that jt will recopnnen~l at sentencing thatthe Court reduce by

     two level$ the sentencing J~uideline level ap:plical:>le to the d~f~n~ant's ·offepse, pursuant to

      S~gtio.n .3El.l(a)        of the   Sentencjp~ Guidelines, based upon the defendant's rec<:>gi!itioi1 and

      affirmative a.Qd ti$ely acc.e.ptarice ·of persort~l responsibility. Jf .at the time of $enJertci11g. the


                                                                 4
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     . defendant's offense lerrl. is d~ter:rn:ined to :b.e      W or        greater, t~is Office will file .a. motion,·

      reqµ~sti11g; ar1 _a(lditfonal one .-level decrease pun,qant to .Section· :tELl(b) of .the SentenciJ1g .

      :qukJeliries~ sb1ting that the -d¢fendanfh~s assisted ~uthoritiesin the
           ,                                           ~                .   ,_ investigatjort or prose~mt\on
                                                                                       ~               .   .           .   ,




      oLtbe defertdart' s own misconduct py (imely notifying a.qiJ:iorities ofthe defendartt'.s irttentioR to

      erit¢r a plea of guilty, thereby perm~ing the government tcr avokl prepm:ing·:for 'trial and

      permitting the go~eµunent and the Court. to i11lac11te tJieir r~~mtcescefficiently.. This Offi¢e, .

      .however, will ,ntjtbe:r~quired to wake'th~innotioh, if the.defe11dant: (1) fails or refus~ to make a

      full, accur11te ·and complete disclqsute to the probation ,office .of the circumstances surroi.ujdihg

      tl:ier,elevant offense condµ_ct~ (2) isfourr4 to have'tnisrepresented factsto the goverrunentprjor to

      entering into this plea. agreemeQt; ·or (3) c<>mmits any misconduct aft~r enteling Jnto tlli_s plea

      a~eement, incfod~g but not limited to· comniitting a State or federal offense, vio1~tfug, a:11:Y term

      of r~lea$'e, or i;rta{qng ~alse -statements or misrepresent~,tions to any governmental entity or

      official·.

               12.   The. defendJU1t is awat~ Jhat the sentence has not. yet been detetmi11ecl by- t!1e

      Court. The defenilant also is aware that any estimate. of the proba.bl,e senten~iilg range .or
      sentence
        -.,.
               that the defendant 111ay.
                             ,        .
                                         receive,
                                             --
                                                  wbether tltat estimate comes• from
                                                           '      . .              -
                                                                                     Jlie defen~ant~s

      a~o~ney, this Office~ or the prooatiop, ·office, i~ a predict{on, not ~ promi.Se, and is not binding on

      this. Office, the probation -office or tlie ¢ourt. The defendant understands further that @Y
      -,                --           <   •-.       •                         •             •   •   '           -   •               •   ,.   -   •




      re<;omrnendation :that this Qffjc:~ 1h~lces to tlte Court as to Sentenci~g. w:tiethet pursuantto th~s·

      a~eemeht :or •Qthefyiise;· _:is. npt binding on the Co1,ut and the Cc>Urt may disre~~rc:I                                             the
      recq:rj:miend~tidn in. its entirety.
                                 .      -
                                           The d~(endaJJ.t
                                               .    -
                                                           uftdetstarids and acknowleq.ges,
                                                           .,                      . . .
                                                                                            as previo1,1sly
                                                                                                   .                           '




      ackno':Vlei:Jied inpara~aph·3' above? th_at tne.d~fendantroa.y ,iot withdraw .ms·pJea b_ased.upoii
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        tb.¢, :Co~rt•s_ decision: notto accept          a sentencing recommendation made by the 9efendant, this
        Office, or a recommendation m~de jointly }?y the defendant and this Office.

                1~.               The defendant,acknoWledges that he :has fully disc:!,issecl tlle mfltters ofthis plea

       ag(eement an:d liis guilty plea pursuant th_ereto_ with his attorney, and tiuu hi.s attorney has

       qnswered each' (>f his que~ions about The strength -of tp.e gover.Qment's cas_e as well as the

       follo.wing _tigh~: to gp tQ trial; to cross-examine the government's witnesses;                to testify onshis

       own ·bebalf;·to ttot be compelled to provid~ se\f.:jpci;imin.ating testim~u1y:; tp, call witnesses for the

       defense; @d, to appeal any adverse _verdict that tnay re~ult frQm a trial. Th.e defendant fui;tlier

       acknowledges that.~e is fullY. satisfied with the representations proviQed by his attorney.

                14.               This is, the ~ntire agreement a_n:d undetstanging between this Office and the

      _-defendant. There' are_ rip_ other: a~reem,epts~ promises,. representations; _or underst11ndin,gs.




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